 1   MACDONALD | FERNANDEZ LLP
     IAIN A. MACDONALD (SBN 051073)
 2   221 Sansome Street, Third Floor
 3   San Francisco, CA 94104-2323
     Telephone: (415) 362-0449
 4   Facsimile: (415) 394-5544

 5   Attorneys for Creditor,
     PHILIP ACHILLES
 6

 7
                                  UNITED STATES BANKRUPTCY COURT
 8
                                  NORTHERN DISTRICT OF CALIFORNIA
 9   In Re:
                                                         Case No. 21-30202-DM
10   THEOS FEDRO HOLDINGS, LLC,
                                                         Chapter 11
11                           Debtor.
                                                         CERTIFICATE OF SERVICE
12
                                                         Date: February 25, 2022
13                                                       Time: 10:30 a.m.
                                                         Place: AT&T Connect Teleconference or
14                                                              Zoom Video Conference
15                                                       Hon. Dennis Montali
16

17            I, the undersigned, hereby certify that I am a citizen of the United States of America and

18   employed in the City and County of San Francisco, California; that I am over the age of eighteen

19   years and not a party to the within action; that my business address is 221 Sansome Street, Third

20   Floor, San Francisco, California 94104-2323.

21            On the date hereof, I served the following document(s):
         1. CREDITOR PHILIP ACHILLES’ AND DEBTOR THEOS FEDRO HOLDINGS, LLC’S
22
            SUPPLEMENTAL OPPOSITION TO TRUSTEE’S MOTION TO SELL PROPERTY
23          SUBJECT TO OVERBID AND PAY REAL ESTATE COMMISSION (819 Ellis Street, San
            Francisco, CA 94109) [11 U.S.C. Sections 363(b)(3); F.R.B.P. 6004(a); B.L.R. 6004-1]
24
         2. DECLARATION OF IAIN A. MACDONALD IN SUPPORT OF CREDITOR PHILIP
25          ACHILLES’ AND DEBTOR THEOS FEDRO HOLDINGS, LLC’S SUPPLEMENTAL
            OPPOSITION TO TRUSTEE’S MOTION TO SELL PROPERTY SUBJECT TO OVERBID
26          AND PAY REAL ESTATE COMMISSION (819 Ellis Street, San Francisco, CA 94109) [11
            U.S.C. Sections 363(b)(3); F.R.B.P. 6004(a); B.L.R. 6004-1]
27
         3. DECLARATION OF PHILIP ACHILLES IN SUPPORT OF CREDITOR PHILIP
28          ACHILLES’ AND DEBTOR THEOS FEDRO HOLDINGS, LLC’S SUPPLEMENTAL
            OPPOSITION TO TRUSTEE’S MOTION TO SELL PROPERTY SUBJECT TO OVERBID
                                                                                                           1
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 1           AND PAY REAL ESTATE COMMISSION (819 Ellis Street, San Francisco, CA 94109) [11
             U.S.C. Sections 363(b)(3); F.R.B.P. 6004(a); B.L.R. 6004-1]
 2

 3   Upon the following:

 4   Mailing Information for Case 21-30202
 5   Electronic Mail Notice List
 6
     The following is the list of parties who are currently on the list to receive email notice/service for
 7   this case.

 8         Bachecki, Crom & Co., LLP JCrom@bachcrom.com
           Christina Lauren Goebelsmann Christina.Goebelsmann@sba.gov
 9
           Janina M. Hoskins jmelder7@aol.com, Ca80@ecfcbis.com
10         Michael A. Isaacs misaacs@rinconlawllp.com, aworthing@rinconlawllp.com
           Martin N. Jensen mjensen@porterscott.com
11         Timothy S. Laffredi timothy.s.laffredi@usdoj.gov, patti.vargas@usdoj.gov
           Kendall A. Layne Kendall.Layne@LewisBrisbois.com,
12          Yesenia.Gutierrez@lewisbrisbois.com
13         Iain A. Macdonald imac@macfern.com, 6824376420@filings.docketbird.com
           Office of the U.S. Trustee / SF USTPRegion17.SF.ECF@usdoj.gov
14         Jason E. Rios jrios@ffwplaw.com, docket@ffwplaw.com
           Elvina Rofael elvina.rofael@usdoj.gov,
15          Katina.Umpierre@usdoj.gov,Patti.Vargas@usdoj.gov,GemMil.Langit@usdoj.gov
           Matthew Sirolly msirolly@dir.ca.gov
16         Sarah M. Stuppi sarah@stuppilaw.com
17
     As follows:
18     X        Electronically: I hereby certify that on the below date, I electronically filed the
19              foregoing with the Clerk of the Court using the CM/ECF system which will send
                notification of such filing to the e-mail addresses denoted on the Electronic mail
20              notice list.

21          I declare under penalty of perjury under the laws of the State of California that the foregoing

22   is true and correct and that I am employed in the office of a member of the bar of this Court, at

23   whose direction the service was made.

24
       Dated: February 18, 2022                           /s/ Brenda S. Johnson
25                                                        BRENDA S. JOHNSON
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